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                      EXHIBIT 3
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Dividend Policy, Growth, and the Valuation of Shares

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 VOL. X X X I V                       OCTOBER 1961                        No. 4


                       DIVIDEND POLICY, GROWTH, AND T H E
                             VALUATION OF SHARES*


       HE effect of a firm's dividend policy              of dividend policy. Lacking such a state-

 T     on the current price of its shares is a
       matter of considerable importance,
 not only to the corporate officials who
                                                          ment, investigators have not yet been
                                                          able to frame their tests with sufficient
                                                          precision to distinguish adequately be-
 must set the policy, but to investors                    tween the various contending hypothe-
 planning portfolios and to economists                    ses. Nor have they been able to give a
 seeking to understand and appraise the                   convincing explanation of what their test
 functioning of the capital markets. Do                   results do imply about the underlying
 companies with generous distribution                     process of valuation.
 policies consistently sell a t a premium                    I n the hope that it may help to over-
 over those with niggardly payouts? Is the                come these obstacles to effective empiri-
 reverse ever true? If so, under what con-                cal testing, this paper will attempt to fill
 ditions? Is there an optimum payout                      the existing gap in the theoretical litera-
 ratio or range of ratios that maximizes                  ture on valuation. We shall begin, in Sec-
 the current worth of the shares?                         tion I, by examining the effects of differ-
    Although these questions of fact have                 ences in dividend policy on the current
 been the subject of many empirical stud-                 price of shares in an ideal economy char-
 ies in recent years no consensus has yet                 acterized by perfect capital markets, ra-
 been achieved. One reason appears to be                  tional behavior, and perfect certainty.
 the absence in the literature of a com-                  Still within this convenient analytical
 plete and reasonably rigorous statement                  framework we shall go on in Sections I1
 of those parts of the economic theory of                 and I11 to consider certain closely related
 valuation bearing directly on the matter                 issues that appear to have been respon-
     * The authors wish to express their thanks to all    sible for considerable misunderstanding
 who read and commented on earlier versions of this       of the role of dividend policy. In particu-
 paper and especially to Charles C. Holt, now of the
 University of Wisconsin, whose suggestions led to        lar, Section I1 will focus on the long-
 considerable simplification of a number of the proofs.   standing debate about what investors
     t Professor of h a n c e and economics, University   "really" capitalize when they buy shares;
 of Chicago.
     1Professor of economics, Northwestern Univer-        and Section I11 on the much mooted rela-
 sity.                                                    tions between price, the rate of growth of
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 profits, and the rate of growth of divi-     vestor as to the future investment pro-
 dends per share. Once these fundamen-        gram and the future profits of every cor-
 tals have been established, we shall pro-    poration. Because of this assurance,
 ceed in Section IV to drop the assump-       there is, among other things, no need to
 tion of certainty and to see the extent to   distinguish between stocks and bonds as
 which the earlier conclusions about divi-    sources of funds a t this stage of the anal-
 dend policy must be modified. Finally, in    ysis. We can, therefore, proceed as if
 Section V, we shall briefly examine the      there were only a single type of financial
 implications for the dividend policy         instrument which, for convenience, we
 problem of certain kinds of market im-       shall refer to as shares of stock.
 perfections.                                    T h e fundamental principle of valua-
                                              tion.-under these assumptions the valu-
 I. EFFECT OF DIVIDEND POLICY WITH PER-
                                              ation of all shares would be governed by
    FECT MARKETS, RATIONAL BEHAVIOR,
                                              the following fundamental principle : the
            AND PERFECT CERTAINTY
                                              price of each share must be such that the
     T h e meaning of the basic assumptions. rate of return (dividends plus capital
 -Although the terms "perfect markets," gains per dollar invested) on every share
 "rational behavior," and "perfect cer- will be the same throughout the market
 tainty" are widely used throughout eco- over any given interval of time. That is,
 nomic theory, it may be helpful to start if we let
 by spelling out the precise meaning of dj(t) = dividends per share paid by firm j
 these assumptions in the present context.              during period t
     1. In '(perfect capital markets," no pj(t) = the price (ex any dividend in t - 1)
 buyer or seller (or issuer) of securities is           of a share in firm j at the start of
 large enough for his transactions to have              period  t,
 an appreciable impact on the then ruling we must have
 price. All traders have equal and costless
 access to information about the ruling
 price and about all other relevant charac-
 teristics of shares (to be detailed spe-                    = p ( t ) independent of j ;
 cifically later). No brokerage fees, trans-
 fer taxes, or other transaction costs are or, equivalently,
 incurred when securities are bought,
 sold, or issued, and there are no tax dif-
 ferentials either between distributed and
 undistributed profits or between divi- for each j and for all t. Otherwise, holders
 dends and capital gains.                      of low-return (high-priced) shares could
     2. "Rational behavior" means that increase their terminal wealth by selling
 investors always prefer more wealth to these shares and investing the proceeds
 less and are indifferent as to whether a in shares offering a higher rate of return.
 given increment to their wealth takes the This process would tend to drive down
 form of cash payments or an increase in the prices of the low-return shares and
 the market value of their holdings of drive up the prices of high-return shares
 shares.                                       until the differential in rates of return
     3. "Perfect certainty" implies com- had been eliminated.
 plete assurance on the part of every in-         T h e effect of dividend policy.-The im-
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plications of this principle for our prob-      able information as to what that future
lem of dividend policy can be seen some-        dividend policy would be. The first possi-
what more easily if equation (2) is re-         bility being the relevant one from the
stated in terms of the value of the enter-      standpoint of assessing the effects of divi-
prise as a whole rather than in terms of        dend policy, it will clarify matters to as-
the value of an individual share. Drop-         sume, provisionally, that the future divi-
ping the firm subscript j since this will       dend policy of the firm is known and
lead to no ambiguity in the present con-        given for t +   1 and all subsequent peri-
text and letting                                ods and is independent of the actual divi-
      n(t) = the number of shares of record                                      +
                                                dend decision in t. Then V(t 1) will
             at the start of t                  also be independent of the current divi-
    +
m(t 1) = the number of new shares (if           dend decision, though it may very well
             any) sold during t at the ex
                                          +
             dividend closing price p(t I),
                                                                      +
                                                be affected by D(t 1) and all subse-
                                                quent distributions. Finally, current div-
             so that
     +           + +
 n(t 1) = n(t) m(t 1)
     V(t) = n(t) p(t) = the total value of
                                                idends can influence V(t) through the
                                                third term, -m(t   +         +
                                                                      1) p(t I), the val-
             the enterprise and                 ue of new shares sold to outsiders during
     D(t) = n(t) d(t) = the total dividends     the period. For the higher the dividend
             paid during t to holders of rec-   payout in any period the more the new
             ord at the start of t,             capital that must be raised from external
 we can rewrite (2)                             sources to maintain any desired level of
             1                                  investment.
 v (t) =--l+
          -
             P (t)
                   I D(t)+.rz(t)P(t+l)I            The fact that the dividend decision
                                                effects price not in one but in these two
                                                conflicting ways-directly via D(t) and
                                                                             +
                                                inversely via -m(t) p(t 1)-is,             of
                                                course, precisely why one speaks of there
                                                being a dividend policy problem. If the
    The advantage of restating the funda-       firm raises its dividend in t , given its in-
 mental rule in this form is that it brings     vestment decision, will the increase in the
 into sharper focus the three possible          cash payments to the current holders be
 routes by which current dividends might        more or less than enough to offset their
 affect the current market value of the         lower share of the terminal value? Which
 firm V(t), or equivalently the price of its    is the better strategy for the firm in
 individual shares, ~ ( t ) .Current divi-      financing the investment: to reduce divi-
 dends will clearly affect V(t) via the first   dends and rely on retained earnings or to
 term in the bracket, D(t). In principle,       raise dividends but float more new
 current dividends might also affect V(t)       shares?
 indirectly via the second term, V(t I),  +         In our ideal world a t least these and
 the new ex dividend market value. Since         related questions can be simply and im-
     +
  V(t 1) must depend only on future             mediately answered: the two dividend
 and not on past events, such could be the      effects must always exactly cancel out so
  case, however, only if both (a) V(t 1)  +      that the payout policy to be followed in t
  were a function of future dividend policy     will have no effect on the price a t t.
  and (b) the current distribution D(t)             We need only expressm(t+ 1) p(t+ 1)
  served to convey some otherwise unavail-      in terms of D(t) to show that such must
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 indeed be the case. Specifically, if I(t)      once you think of it." It is, after all,
 is the given level of the firm's invest-       merely one more instance of the general
 ment or increase in its holding of physical    principle that there are no "financial il-
 assets in t and if X(t) is the firm's total    lusions" in a rational and perfect econom-
 net profit for the period, we know that        ic environment. Values there are deter-
 the amount of outside capital required         mined solely by "real" considerations-
 will be                                        in this case the earning power of the
 m(t+ l)P(t+ 1) =I ( t )                        firm's assets and its investment policy-
                                           (4   and not by how the fruits of the earning
                    - t X ( t )- D(t)l .        power are "packaged" for distribution.
 Substituting expression (4) into (3), the          Obvious as the proposition may be,
 D(t) cancel and we obtain for the value        however, one finds few references to it in
 of the firm as of the start of t               the extensive literature on the prob1em.l
                                                I t is true that the literature abounds with
                                                statements that in some "theoretical"
                                                sense, dividend policy ought not to
                                                count; but either that sense is not clearly
                                                specified or, more frequently and espe-
 Since D(t) does not appear directly            cially among economists, it is (wrongly)
 among the arguments and since X(t),            identified with a situation in which the
           +
 I(t), V(t 1) and p(t) are all independ-        firm's internal rate of return is the same
 ent of D(t) (either by their nature or by      as the external or market rate of re-
 assumption) it follows that the current        turn.2
 value of the firm must be independent of           A major source of these and related
 the current dividend decision.                 misunderstandings of the role of the divi-
    Having established that V(t) is unaf-       dend policy has been the fruitless concern
 fected by the current dividend decision        and controversy over what investors
 it is easy to go on to show that V(t) must     "really" capitalize when they buy shares.
 also be unaffected by any future dividend      We say fruitless because as we shall now
 decisions as well. Such future decisions       proceed to show, it is actually possible to
 can influence V(t) only via their effect on    derive from the basic principle of valua-
       +
 V (t 1). But we can repeat the reason-         tion (1) not merely one, but several valu-
                                 +
 ing above and show that V(t 1)-and             ation formulas each starting from one of
 hence V(t)-is unaffected by dividend           the "classical" views of what is being
                +
 policy in t 1; that V(t 2)-and  +              capitalized by investors. Though differ-
            +
 hence V(t 1) and V(t)-is unaffected            ing somewhat in outward appearance,
                            +
 by dividend policy in t 2; and so on           the various formulas can be shown to be
 for as far into the future as we care to       equivalent in all essential respects in-
 look. Thus, we may conclude that given a       cluding, of course, their implication that
 firm's investment policy, the dividend         dividend policy is irrelevant. While the
 payout policy it chooses to follow will af-         Apart from the references to it in our earlier
 fect neither the current price of its shares   papers, especially [16], the closest approximation
 nor the total return to its shareholders.      seems to be that in Bodenborn [I, p. 4921, but even
                                                his treatment of the role of dividend policy is not
     Like many other propositions in eco-       completely explicit. (The numbers in brackets refer
 nomics, the irrelevance of dividend pol-       to references listed below, pp. 432-33).
 icy, given investment policy, is "obvious,        2 See below p. 424.
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 controvery itself thus turns out to be an as T approaches infinity4so that ( 7 ) can
 empty one, the different expressions do be expressed as
 have some intrinsic interest since, by
 highlighting different combinations of V ( 0 ) = lim
 variables they provide additional insights         T+w
                                                         T-1
                                                                   1
                                                                    x-----
                                                          t=o ( I + ~ ) ~ + l     (8)
 into the process of valuation and they
 open alternative lines of attack on some
 of the problems of empirical testing.      which we shall further abbreviate to



    In the literature on valuation one can
                                                  T h e discounted cash jlow approach.-
 find a t least the following four more or
                                               Consider now the so-called discounted
 less distinct approaches to the valuation
 of shares: ( 1 ) the discounted cash flow cash flow approach familiar in discus-
 approach; (2) the current earnings plus sions of capital budgeting. There, in val-
 future investment opportunities ap- uing any specific machine we discount at
 proach; ( 3 ) the stream of dividends ap- themarket rate of interest the stream of
 proach; and ( 4 ) the stream of earnings cash receipts generated by the machine;
 approach. To demonstrate that these ap- plus any scrap or terminal value of the
 proaches are, in fact, equivalent it will be machine; and minus the stream of cash
 helpful to begin by first going back to outlays for direct labor, materials, re-
 equation ( 5 ) and developing from it a pairs, and capital additions. The same
 valuation formula to serve as a point of approach, of course, can also be applied
 reference and comparison. Specifically, if to the firm as a whole which may be
 we assume, for simplicity, that the mar- thought of in this context as simply a
 ket rate of yield p (t) = p for all t,3 then, large, composite m a ~ h i n e . ~This ap-
 setting t = 0, we can rewrite ( 5 ) as
             4
                                                     More general formulas in which p ( t ) is allowed
                                                 to vary with time can always be derived from those
                                                 presented here merely by substituting the cumber-
                                                 some product


 Since (5) holds for all t, setting t = 1 per-
 mits us to express V ( l ) in terms of V(2)
                                                     4 The assumption that the remainder vanishes is
 which in turn can be expressed in terms
                                                 introduced for the sake of simplicity of exposition
 of V ( 3 ) and so on up to any arbitrary        only and is in no way essential to the argument.
 terminal period T . Carrying out these          What is essential, of course, is that V(O),i.e., the
 substitutions, we obtain                        sum of the two terms in ( 7 ) , be finite, but this can
                                                 always be safely assumed in economic analysis. See
                                                 below, n. 14.
                                                      This is, in fact, the approach to valuation nor-
                                                 mally taken in economic theory when discussing the
                                                 value of the assets of an enterprise, but much more
                                                 rarely applied, unfortunately, to the value of the
                                                 liability side. One of the few to apply the approach
                                    +
 In general, the remainder term ( 1 p)-T         to the shares as well as the assets is Bodenhorn in [I],
                                                 who uses it to derive a formula closely similar to (9)
 V ( T ) can be expected to approach zero        above.
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 proach amounts to defining the value of     investments in real assets that will yield
 the firm as                                  more than the "normal" (market) rate of
                                             return. The latter opportunities, fre-
                                              quently termed the '(good will" of the
                                              business, may arise, in practice, from any
                                              of a number of circumstances (ranging
                                             all the way from special locational advan-
                                             tages to patents or other monopolistic
 where R(t) represents the stream of cash
                                             advantages).
 receipts and O(t) of cash outlays, or,
                                                To see how these opportunities affect
 abbreviating, as above, to
                                             the value of the business assume that in
                                             some future period t the firm invests I(t)
                                             dollars. Suppose, further, for simplicity,
                                             that starting in the period immediately
 But we also know, by definition, that following the investment of the funds,
 [X(t) - I(t)] = [R(t) - O(t)] since, X(t) the projects produce net profits a t a con-
 differs from R(t) and I(t) differs from stant rate of p*(t) per cent of I(t) in each
 O(t) merely by the "cost of goods sold" period thereafter.= Then the present
 (and also by the depreciation expense if worth as of t of the (perpetual) stream of
 we wish to interpret X(t) and I(t) as net profits generated will be I(t) p*(t)/p, and
 rather than gross profits and invest- the "good will" of the projects (i.e., the
 ment). Hence (11) is formally equivalent difference between worth and cost) will
 to (9)) and the discounted cash flow ap- be
 proach is thus seen to be an implication
 of the valuation principle for perfect
 markets given by equation (1).              The present worth as of now of this fu-
    The investment opportunities approach. ture "good will" is
 -Consider next the approach to valua-
 tion which would seem most natural                 I (t)     [FL-x]
                                                                  P
                                                                            ( 1+ p ) -('+l),
 from the standpoint of an investor pro-
 posing to buy out and operate some al- and the present value of all such future
 ready-going concern. I n estimating how opportunities is simply the sum
 much it would be worthwhile to pay for
 the privilege of operating the firm, the
 amount of dividends to be paid is clearly
 not relevant, since the new owner can, Adding in the present value of the (uni-
 within wide limits, make the future divi- form perpetual) earnings, X(O), on the as-
 dend stream whatever he pleases. For
                                                s The assumption that I ( t ) yields a uniform per-
 him the worth of the enterprise, as such, petuity    is not restrictive in the present certainty
 will depend only on: (a) the "normal" context since it is always possible by means of
 rate of return he can earn by investing simple, present-value calculations to find an equiva-
 his capital in securities (i.e., the market lent  uniform perpetuity for any project, whatever
                                             the time shape of its actual returns. Note also that
 rate of return); (b) the earning power of p*(t) is the average rate of return. If the managers of
 the physical assets currently held by the the firm are behaving rationally, they will, of course,
                                             use p as their cut-off criterion (cf. below p. 418).
 firm; and (6) the opportunities, if any, In     this event we would have p * ( t ) 2 p. The for-
 that the firm offers for making additional mulas remain valid, however, even where p*(t) < p.
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 sets currently held, we get as an expres-        The first expression is, of course,
 sion for the value of the firm                 simply a geometric progression summing

                 +2I (t)
                                                to X(0)lp, which is the first term of (12).
 V ( 0 ) =--x ( o )                             To simplify the second expression note
             P        t -0
                                        ( 1 2 ) that it can be rewritten as


    To show that the same formula can be
 derived from (9) note first that our defini-
 tion of p*(t) implies the following relation
                                                 Evaluating the summation within the
 between the X(t) :
                                                 brackets gives
 X ( 1 ) = X ( O )+ p * ( O ) I ( O ) ,



 and by successive substitution



                                                 which is precisely the second term of
                                                 (12).
   Substituting the last expression for             Formula (12) has a number of reveal-
 X(t) in (9) yields                              ing features and deserves to be more
                                                 widely used in discussions of v a l ~ a t i o n . ~ ,
                                                 For one thing, it throws considerable
                                                 light on the meaning of those much
                                                 abused terms "growth" and "growth
                                                 stocks." As can readily be seen from (12))
                             1 +
                       -I (t) (1    P ) -(t+l)
                                                 a corporation does not become a "growth
                                                 stock" with a high price-earnings ratio
                                                 merely because its assets and earnings
                                                 are growing over time. To enter the
                                                 glamor category, it is also necessary that
                                                 p*(t) > p. For if p*(t) = p, then how-
                                                 ever large the growth in assets may be,
                                                 the second term in (12) will be zero and
                                                 the firm's price-earnings ratio would not
                                                 rise above a humdrum l/p. The essence
                                                 of "growth," in short, is not expansion,
                                                 but the existence of opportunities to in-
                                                 vest significant quantities of funds a t
                                                 higher than "normal" rates of return.
                                                     7 A valuation formula analogous to (12) though
                                                 derived and interpreted in a slightly different way
                                                 is found in Bodenhorn [I]. Variants of (12) for certain
                                                 special cases are discussed in Walter [20].
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     Notice also that if p*(t) < p, invest-                 valuation.
  ment in real assets by the firm will ac-                     Even without raising questions of bias
  tually reduce the current price of the                    in the coefficient^,^ it should be apparent
  shares. This should help to make clear                    that such a conclusion is unwarranted
  among other things, why the "cost of                      since formula (12) and the analysis un-
  capital" to the firm is the same regard-                  derlying it imply only that dividends will
  less of how the investments are financed                  not count given current earnings and
  or how fast the firm is growing. The func-                growth potential. No general prediction is
  tion of the cost of capital in capital                    made (or can be made) by the theory
  budgeting is to provide the "cut-off rate"                about what will happen to the dividend
  in the sense of the minimum yield that                    coefficient if the crucial growth term is
  investment projects must promise to be                    omitted.1°
  worth undertaking from the point of                          T h e stream of dividends approach.-
  view of the current owners. Clearly, no                   From the earnings and earnings oppor-
  proposed project would be in the interest                 tunities approach we turn next to the
  of the current owners if its yield were ex-               dividend approach, which has, for some
  pected to be less than p since investing in               reason, been by far the most popular one
  such projects would reduce the value of                   in the literature of valuation. This ap-
  their shares. In the other direction, every               proach too, properly formulated, is an
  project yielding more than p is just as                   entirely valid one though, of course, not
  clearly worth undertaking since it will                   the only valid approach as its more en-
  necessarily enhance the value of the en-                  thusiastic proponents frequently sug-
  terprise. Hence, the cost of capital or cut-              gest." It does, however, have the disad-
  off criterion for investment decisions is                 vantage in contrast with previous ap-
  simply p.8                                                proaches of obscuring the role of dividend
     Finally, formula (12) serves to em-                    policy. I n particular, uncritical use of the
  phasize an important deficiency in many                         The serious bias problem in tests using current
  recent statistical studies of the effects of              reported earnings as a measure of X ( 0 ) was discussed
  dividend policy (such as Walter [19] or                   briefly by us in [16].
  Durand [4, 51). These studies typically                       lo I n suggesting that recent statistical studies

  involve fitting regression equations in                   have not controlled adequately for growth we do not
                                                            mean to exempt Gordon in [8] or [9]. I t is true that
  which price is expressed as some function                 his tests contain an explicit "growth" variable, but
  of current earnings and dividends. A find-                it is essentially nothing more than the ratio of re-
  ing that the dividend coefficient is sig-                 tained earnings to book value. This ratio would not
                                                            in general provide an acceptable approximation to
  nificant-as is usually the case-is then                   the "growth" variable of (12) in any sample in which
  interpreted as a rejection of the hypothe-                firms resorted to external financing. Furthermore,
                                                            even if by some chance a sample was found in which
  sis that dividend policy does not affect                  all firms relied entirely on retained earnings, his
      8The same conclusion could also have been             tests then could not settle the question of dividend
  reached, of course, by "costing" each particular          policy. For if all firms financed investment internally
  source of capital funds. That is, since p is the going    (or used external financing only in strict proportion
  market rate of return on equity any new shares            to internal financing as Gordon assumes in [8]) then
  floated to finance investment must be priced to           there would be no way to distinguish between the
  yteld p ; and withholding funds from the stockhold-       effects of dividend policy and investment policy (see
  ers to finance investment would deprive the holders       below p. 424).
  of the chance to earn p on these funds by investing          "   See, e.g., the classic statement of the position
  their dividends in other shares. The advantage of         in J. B. Williams [21]. The equivalence of the divi-
  thinking in terms of the cost of capital as the cut-off   dend approach to many of the other standard ap-
  criterion is that i t minimizes the danger of confusing   proaches is noted to our knowledge only in our [16]
  "costs" with mere "outlays."                              and, by implication, in Bodenhorn [I].
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 dividend approach has often led to the The summation term in the last expres-
 unwarranted inference that, since the in- sion can be written as the difference be-
 vestor is buying dividends and since div- tween the stream of dividends accruing
 idend policy affects the amount of divi- to all the shares of record as of t $- 1 and
 dends, then dividend policy must also that portion of the stream that will ac-
 affect the current price.                 crue to the shares newly issued in t, that is,
    Properly formulated, the dividend ap-
 proach defines the current worth of a
 share as the discounted value of the
 stream of dividends to be paid on the
 share in perpetuity. That is

                                                    But from (14) we know that the second
 To see the equivalence between this ap-            summation in (16) is precisely V(t 1)           +
 proach and previous ones, let us first             so that (15) can be reduced to
 restate (13) in terms of total market
 value as



              +
 where D ,(t T) denotes that portion of
                            +
 the total dividends D(t 7)paid during
          +
 period t T, that accrues to the shares of
 record as of the start of period t (indi-
 cated by the .subscript). That equation
 (14) is equivalent to (9) and hence also
 to (12) is immediately apparent for the            which is (3) and which has already been
 special case in which no outside financing         shown to imply both (9) and (12).12
 is undertaken after period t, for in that            There are, of course, other ways in
 case                                               which the equivalence of the dividend
  Dt ( t + 7 ) = D ( t + 7 )                        approach to the other approaches might
                      = X ( t + 7 ) - I ( t + 7).
                                                        12 The statement that equations (9), (12), and
 To allow for outside financing, note that          (14) are equivalent must be qualified to allow for
 we can rewrite (14) as                             certain pathological extreme cases, fortunately of no
                                                    real economic significance. An obvious example of
                                                    such a case is the legendary company that is expect-
                                                    ed never to pay a dividend. If this were literally true
                                                    then the value of the firm by (14) would be zero; by
                                                    (9) i t would be zero (or possibly negative since zero
                                                    dividends rule out X(t) > I(t) but not X(t) < I(t));
                                                    while by (12) the value might still be positive. What
                                                    is involved here, of course, is nothing more than a
                                                    discontinuity a t zero since the value under (14) and
                                                    (9) would be positive and the equivalence of both
                                                    with (12) would hold if that value were also positive
                                                    as long as there was some period T, however far in
                                                    the future, beyond which the firm would pay out
                                                    s > 0 per cent of its earnings, however small the
                                                    value of t.
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 have been established, but the method                       often suggested, that it overlooks the
 presented has the advantage perhaps of                      fact that the corporation is a separate en-
 providing some further insight into the                     tity and that these profits cannot freely
 reason for the irrelevance of dividend                      be withdrawn by the shareholders; but
 policy. An increase in current dividends,                   rather that it neglects the fact that addi-
 given the firm's investment policy, must                    tional capital must be acquired a t some
 necessarily reduce the terminal value of                    cost to maintain the future earnings
 existing shares because part of the future                  stream a t its specified level. The capital
 dividend stream that would otherwise                        to be raised in any future period is, of
 have accrued to the existing shares must                    course, I(t) and its opportunity cost, no
 be diverted to attract the outside capital                  matter how financed, is p per cent per
 from which, in effect, the higher current                   period thereafter. Hence, the current
 dividends are paid. Under our basic as-                     value of the firm under the earnings ap-
 sumptions, however, p must be the same                      proach must be stated as
 for all investors, new as well as old. Con-
 sequently the market value of the divi-
 dends diverted to the outsiders, which is
 both the value of their contribution and
 the reduction in terminal value of the ex-
 isting shares, must always be precisely
 the same as the increase in current divi-
                                                             That this version of the earnings ap-
 dends.
                                                             proach is indeed consistent with our basic
    T h e stream of earnings approach.-
                                                             assumptions and equivalent to the pre-
 Contrary to widely held views, it is also
                                                             vious approaches can be seen by regroup-
 possible to develop a meaningful and
                                                             ing terms and rewriting equation (18) as
 consistent approach to valuation running
 in terms of the stream of earnings gener-
 ated by the corporation rather than of
 the dividend distributions actually made
 to the shareholders. Unfortunately, it is
 also extremely easy to mistate or mis-
 interpret the earnings approach as would
 be the case if the value of the firm were
 to be defined as simply the discounted
 sum of future total earnings.13 The
 trouble with such a definition is not, as is
     18 I n fairness, we should point out that there is no
 one, to our knowledge, who has seriously advanced
 this view. I t is a view whose main function seems to
 be to serve as a "straw man" to be demolished by
 those supporting the dividend view. See, e.g., Gordon
 [9, esp. pp. 102-31. Other writers take as the sup-         Since the last inclosed summation re-
 posed earnings counter-view to the dividend ap-
 proach not a relation running in terms of the stream        duces simply to I(t), the expression (19)
 of earnings but simply the proposition that price is        in turn reduces to simply
 proportional to current earnings, i.e., V(0) =
 X(0)lp. The probable origins of this widespread
 misconception about the earnings approach are dis-
 cussed further below (p. 424).
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 which is precisely our earlier equation and kp* is the (constant) rate of growth
 (9)                                         of total earnings. Substituting from (21)
    Note that the version of the earnings into (12) for I(t) we obtain
 approach presented here does not depend
 for its validity upon any special assump-
 tions about the time shape of the stream
 of total profits or the stream of dividends
 per share. Clearly, however, the time
 paths of the two streams are closely re-
 lated to each other (via financial policy)
 and to the stream of returns derived by
 holders of the shares. Since these rela-
 tions are of some interest in their own
 right and since misunderstandings about
 them have contributed to the confusion
                                             Evaluating the infinite sum and simpli-
 over the role of dividend policy, it may
                                             fying, we finally obtain14
 be worthwhile to examine them briefly
 before moving on to relax the basic as-
 sumptions.
      111. EARNINGS, DIVIDENDS, AND
              GROWTH RATES

    The convenient case of constant growth      which expresses the value of the firm as a
 rates.-The relation between the stream         function of its current earnings, the rate
 of earnings of the firm and the stream of      of growth of earnings, the internal rate of
 dividends and of returns to the stock-         return, and the market rate of return.I5
 holders can be brought out most clearly            I4 One advantage of the specialization (23) is that
 by specializing (12) to the case in which      it makes it easy to see what is really involved in the
 investment opportunities are such as to        assumption here and throughout the paper that the
                                                V ( 0 ) given by any of our summation formulas is
 generate a constant rate of growth of          necessarily b i t e (cf. above, n. 4). In terms of (23)
 profits in perpetuity. Admittedly, this        the condition is clearly kp* < p, i.e., that the rate of
 case has little empirical significance, but    growth of the firm be less than market rate of dis-
                                                count. Although the case of (perpetual) growth rates
 it is convenient for illustrative purposes     greater than the discount factor is the much-dis-
 and has received much attention in the         cussed "growth stock praradox" (e.g. [6]),it has no
 literature.                                    real economic significance as we pointed out in [16,
                                                esp. n. 17, p. 6641. This will be apparent when one re-
    Specifically, suppose that in each pe-      calls that the discount rate p, though treated as a
 riod t the firm has the opportunity to in-     constant in partial equilibrium (relative price)
 vest in real assets a sum I(t) that is k per   analysis of the kind presented here, is actually a
                                                variable from the standpoint of the system as a
 cent as large as its total earnings for the    whole. That is, if the assumption of b i t e value for
 period; and that this investment pro-          all shares did not hold, because for some shares kp*
 duces a perpetual yield of p* beginning        was (perpetually) greater than p, then p would
                                                necessarily rise until an over-all equilibrium in the
 with the next period. Then, by definition      capital markets had been restored.
  X ( t ) = X ( t - 1) + ~ * l ( t -1)              16An interesting and more realistic variant of
                                                 (22), which also has a number of convenient features
                 =X(t-l)[l+kp*J (21)            from the standpoint of developing empirical tests,
                   =X(0) [ I+      kp*] *       can be obtained by assuming that the special invest-
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 Note that (23) holds not just for period                  the price per share? Clearly, the answer
 0, but for every t. Hence if X(t) is grow-                will vary depending on whether or not
 ing a t the rate kp*, it follows that the                 the firm is paying out a high percentage
 value of the enterprise, V(t),also grows                  of its earnings and thus relying heavily
 a t that rate.                                            on outside financing. We can show the
     The growth of dividends and the growth                nature of this dependence explicitly by
 of total pro$ts.-Given    that total earn-                making use of the fact that whatever the
 ings (and the total value of the firm) are                rate of growth of dividends per share the
 growing a t the rate kp* what is the rate                 present value of the firm by the dividend
 of growth of dividends per share and of                   approach must be the same as by the
                                                           earnings approach. Thus let
 ment opportunities are available not in perpetuity
 but only over some finite interval of T periods. To                 g = the rate of growth of divi-
 exhibit the value of the firm for this case, we need                     dends per share, or, what
 only replace the infinite summation in ( 2 2 ) with a                    amounts to the same thing,
 summation running from t = 0 to t = T - 1. Eval-                         the rate of growth of divi-
 uating the resulting expression, we obtain                               dends accruing to the shares
                                                                          of the current holders (i.e.,
                                                                          Do(0 = Do(O)[l gl');    +
                                                                    k , = the fraction of total profits
                                                                          retained in each period (so
                                                                          that D(t) = X(0)[1 - k,]);
                                                           k, = k - k, = the amount of external capi-
 Note that ( 2 2 a ) holds even if kp* > p, so that the                   tal raised per period, ex-
 so-called growth paradox disappears altogether. If,                      pressed as a fraction of
                                       +
 as we should generally expect, ( 1 k p * ) / ( l +  p)                   profits in the period.
 is close to one, and if T is not too large, the right
 hand side of ( 2 2 a ) admits of a very convenient ap-    Then the present value of the stream of
 proximation. In this case in fact we can write            dividends to the original owners will be


 the approximation holding, if, as we should expect,
 (1 +  kp*) and ( 1  +    p) are both close to unity.
 Substituting this approximation into ( 2 2 a ) and sim-
 plifying, finally yields
           X(0)      k ( P *- P )                          By virtue of the dividend approach we
  v ( 0 ) z-- P [ I + p-kp*                                know that (24) must be equal to V(0).
                                                           If, therefore, we equate it to the right-
                                                           hand side of (23), we obtain



                                                           from which it follows that the rate of
                                                           growth of dividends per share and the
 The common sense of (22b) is easy to see. The cur-
 rent value of a firm is given by the value of the earn-   rate of growth of the price of a share
 ing power of the currently held assets plus the mar-      must be16
 ket value of the special earning opportunity multi-
 plied by the number of years for which it is expected        16 That g is the rate of price increase per share as
 to last.                                                  well as the rate of growth of dividends per share fol-
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                 1-k                         tive kp*, if p* < p and if the firm pays
       g = h p * -2- K,P - ( 25 )
                 1-k     1-k                 out a large fraction of its income in divi-
 Notice that in the extreme case in which dends. In the other direction, we see
 all financing is internal ( k , = 0 and k = from ( 2 5 ) that even if a firm is a
 k , ) , the second term drops out and the "growth" corporation (p* > p) then the
 first becomes simply kp*. Hence the stream of dividends and price per share
 growth rate of dividends in that special must grow over time even though k , =




   FIG.1.-Growth of dividends per share in relation to growth in total earnings:
   A . Total earnings: In X(t) = In X(0)   +
                                           kp*t;
                                                     -                      - +
   B. Total earnings minus capital invested: In [X(t) I(t)] = In X(0) [l k] kp*t;
                                                                     +                       +
      Dividends per share (all financing internal): In Doct) = In D(0) gt = In X(0) [I - k] kp*t;
                                                                      +
   C. Dividends per share (some financing external) : In Do(t) = In D(0) gt;
                                                                     +        -
   D. Dividends per share (all financing external): In Do(t) = In X(0) [(k/1 k) (p* - p)]t.

 case is exactly the same as that of total 0 , that is, even though it pays out all its
 profits and total value and is propor- earnings in dividends.
 tional to the rate of retention k,. I n all           The relation between the growth rate
 other cases, g is necessarily less than kp*        of  the firm and the growth rate of divi-
 and may even be negative, despite a posi-          dends   under various dividend policies is
                                                    illustrated graphically in Figure 1 in
 lows from the fact that by (13) and the definition which for maximum clarity the natural
 of g                                               logarithm of profits and dividends have
                                                    been plotted against time?7
                                                       Line A shows the total earnings of the
                                                    firm growing through time a t the con-

            =  c-TTTP)'Ti-
                 " d ( 0 ) [ 1 + glt+'

                            m      - . .
                                                    stant rate kp*, the slope of A . Line B

                                                    total
                                                                 -
                                                    shows the growth
                                                           earnings
                                                                        of (1)
                                                                    minus
                                                                            . the stream of
                                                                          capital
                                                                                    ,

                                                                                  outlays and
                            -     d(7)
                                                         17 That is, we replace each discrete compounding
                          r=O                                                           +
                                                     expression such as X(t) = X(0) [l kp*]' with its
                                                     counterpart under continuous discounting X(t) =
                                                     ~ ( ~ ) e k ~which,
                                                                   - " t of course, yields the convenient
            =fi(0)[l+glt.                                                               +
                                                     linear relation In X(t) = In X(0) kp*t.
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   (2) the stream of dividends to the original   optimum dividend policy for the firm
  owners (or dividends per share) in the         that depends on the internal rate of re-
  special case in which all financing is in-     turn. Such a conclusion is almost in-
  ternal. The slope of B is, of course,          evitable if one works exclusively with the
  the same as that of A and the (constant)       assumption, explicit or implicit, that
  difference between the curves is simply        funds for investment come only from re-
  ln(1 - k), the ratio of dividends to           tained earnings. For in that case dividend
  profits. Line C shows the growth of divi-      policy is indistinguishable from invest-
  dends per share when the firm uses both        ment policy; and there is an optimal in-
  internal and external financing. As com-       vestment policy which does in general
  pared with the pure retention case, the        depend on the rate of return.
  line starts higher but grows more slowly          Notice also from (23) that if p* = p
  a t the rate g given by (25). The higher       and k = k,, the term [ l - k,] can be
  the payout policy, the higher the starting     canceled from both the numerator and
  position and the slower the growth up to       the denominator. The value of the firm
  the other limiting case of complete ex-        becomes simply X(O)/p, the capitalized
  ternal financing, Line D, which starts a t     value of current earnings. Lacking a
  In X ( 0 ) and grows a t a rate of (k/1 - k)   standard model for valuation more gen-
   (P* - P).                                     eral than the retained earnings case it has
      The special case of exclusively internal   been all too easy for many to conclude
 jinanaing.-As noted above the growth            that this dropping out of the payout ratio
  rate of dividends per share is not the         [I - k,] when p* = p must be what is
  same as the growth rate of the firm ex-        meant by the irrelevance of dividend
  cept in the special case in which all          policy and that V(0) = X(O)lp must
 financing is internal. This is merely one       constitute the "earnings" approach.
  of a number of peculiarities of this special      Still another example of the pitfalls in
  case on which, unfortunately, many             basing arguments on this special case is
 writers have based their entire analysis.       provided by the recent and extensive
 The reason for the preoccupation with           work on valuation by M. Gordon.18Gor-
  this special case is far from clear to us.     don argues, in essense, that because of
  Certainly no one would suggest that it is      increasing uncertainty the discount rate
  the only empirically relevant case. Even       $(t) applied by an investor to a future
  if the case were in fact the most common,      dividend payment will rise with t, where
  the theorist would still be under an obli-     t denotes not a specific date but rather
 gation to consider alternative assump-          the distance from the period in which
  tions. We suspect that in the last analy-      the investor performs the discounting.19
  sis, the popularity of the internal financ-        18 See esp. [8]. Gordon's views represent the most
  ing model will be found to reflect little      explicit and sophisticated formulation of what might
  more than its ease of manipulation com-        be called the "bird-in-the-hand" fallacy. For other,
  bined with the failure to push the analy-      less elaborate, statements of essentially the same
                                                 position see, among others, Graham and Dodd [I1 ,
  sis far enough to disclose how special and     p. 4331 and Clendenin and Van Cleave [3].
 how treacherous a case it really is.               l9 We use the notation $(t) to avoid any confusion
      I n particular, concentration on this      between Gordon's purely subjective discount rate
 special case appears to be largely respon-      and the objective, market-given yields ~ ( tin) Sec. I
                                                 above. To attempt to derive valuation formulas
 sible for the widely held view that, even       under uncertainty from these purely subjective dis-
 under perfect capital markets, there is an      count factors involves, of course, an error essentially
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 Hence, when we use a single uniform dis- ally, such a change cannot affect market
 count rate p as in (22) or (23), this rate valuations. Indeed, if they valued shares
 should be thought of as really an average according to the Gordon approach and
 of the "true" rates $(t) each weighted by thus paid a premium for higher payout
 the size of the expected dividend pay- ratios, then holders of the low payout
 ment a t time t. If the dividend stream is shares would actually realize consistently
 growing exponentially then such a higher returns on their investment over
 weighted average p would, of course, be any stated interval of time.20
 higher the greater the rate of growth of         Corforate earnings and investor returns.
 dividends g since the greater will then be -Knowing the relation of g to kp* we
 the portion of the dividend stream aris- can answer a question of considerable in-
 ing in the distant as opposed to the near terest to economic theorists, namely:
 future. But if all financing is assumed to What is the precise relation between the
 be internal, then g = kTP*SO that given earnings of the corporation in any period
 p*, the weighted average discount factor X(t) and the total return to the owners
 p will be an increasing function of the of the stock during that period?21If we
 rate of retention k, which would run let Gt(t) be the capital gains to the
 counter to our conclusion that dividend owners during t, we know that
 policy has no effect on the current value D t ( t ) S G t ( t ) = X ( t )
 of the firm or its cost of capital.
    For all its ingenuity, however, and its
                                                                   X ( 1 - k,)         +
                                                                                     gV(t)
                                                                                                 (26

 seeming foundation in uncertainty, the sense)    % T h i sis not to deny that growth stocks (in our
                                                      may well be "riskier" than non-growth stocks.
 argument clearly suffers fundamentally But to the extent that this is true, it will be due to
 from the typical confounding of dividend the possibly greater uncertainty attaching to the
 policy with investment policy that so hence  size and duration of futuregrowth opportunities and
                                                      to the size of the future stream of total returns
 frequently accompanies use of the in- quite apart from any questions of dividend policy.
 ternal financing model. Had Gordon not           21 Note also that the above analysis enables us to
 confined his attention to this special case deal very easily with the familiar issue of whether a
 (or its equivalent variants), he would firm's cost of equity capital is measured by its earn-
 have seen that while a change in divi- ings/price         ratio or by its dividend/price ratio. Clear-
                                              ly, the answer is that it is measured by neither, ex-
 dend policy will necessarily affect the cept under very special circumstances. For from (23)
 size of the expected dividend payment on we have for the earnings/price ratio
 the share in any future period, it need not,                   X(0) -
                                                                --           P - KP*
                                                                         - ---
 in the general case, affect either the size,                   V  ( O )       1-k'
 of the total return that the investor ex- which is equal to the cost of capital p , only if the
 pects during that period or the degree of firm has no growth potential (i.e., p* = p ) . And from
 uncertainty attaching to that total re- (24) we have for the dividend/price ratio
 turn. As should be abundantly clear by
 now, a change in dividend policy, given
 investment policy, implies a change only which is equal to p only when g = 0; i.e., from (25),
 in the distribution of the total return in either     when k = 0; or, if k > 0, when p* < p and
                                              the amount of external financing is precisely
 any period as between dividends and
 capital gains. If investors behave ration-
 analogous to that of attempting to develop the cer-   so that the gain from the retention of earnings exact-
 tainty formulas from "marginal rates of time pref-    ly offsets the loss that would otherwise be occasioned
 erence" rather than objective market opportunities.   by the unprofitable investment.
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  since the rate of growth of price is the share; or we can think in terms of the
  same as that of dividends per share. total value of the enterprise, total earn-
  Using (25) and (26) to substitute for g ings, and the rate of growth of total earn-
  and V(t) and simplifying, we find that     ings. Our own preference happens to be
                                             for the second approach primarily be-
                                             cause certain additional variables of in-
                                             terest-such as dividend policy, leverage,
  The relation between the investors' re- and size of firm-can be incorporated
  turn and the corporation's profits is thus more easily and meaningfully into test
  seen to depend entirely on the relation equations in which the growth term is the
  between p* and p . If p* = p (i.e., the growth of total earnings. But this can
  firm has no special "growth" opportuni- wait. For present purposes, the thing to
  ties), then the expression in brackets be- be stressed is simply that two ap-
  comes 1 and the investor returns are pre- proaches, properly carried through, are
  cisely the same as the corporate profits. in no sense opposing views of the valua-
  If p* < p, however, the investors7return tion process; but rather equivalent views,
  will be less than the corporate earnings; with the choice between them largely a
  and, in the case of growth corporations matter of taste and convenience.
  the investors7 return will actually be
                                               IV. T H E EFFECTS OF DIVIDEND POLICY
  greater than the flow of corporate profits
                                                         UNDER UNCERTAINTY
  over the interval.22
     Some implications for constructing em-     Uncertainty and the general theory of
  pirical tests.-Finally the fact that we valuation.-In        turning now from the
  have two different (though not independ- ideal world of certainty to one of uncer-
  ent) measures of growth in kp* and g and tainty our first step, alas, must be to jet-
  two corresponding families of valuation tison the fundamental valuation prin-
  formulas means, among other things, ciple as given, say, in our equation (3)
  that we can proceed by either of two
  routes in empirical studies of valuation.
  We can follow the standard practice of
  the security analyst and think in terms and from which the irrelevance proposi-
  of price per share, dividends per share, tion as well as all the subsequent valua-
  and the rate of growth of dividends per capital gain will always be greater than the retained
     2a The above relation between earnings per share      earnings (and there will be a capital gain of
 and dividends plus capital gains also means that
 there will be a systematic relation between retained
 earnings and capital gains. The "marginal" relation
 is easy to see and is always precisely one for one re-    even when all earnings are paid out). For non-growth
 gardless of growth or financial policy. That is, taking   corporations the relation between gain and reten-
 a dollar away from dividends and adding i t to re-        tions is reversed. Note also that the absolute differ-
 tained earnings (all other things equal) means an         ence between the total capital gain and the total re-
 increase in capital gains of one dollar (or a reduction   tained earnings is a constant (given, p, k and p * )
 in capital loss of one dollar). The "average" relation    unaffected by dividend policy. Hence the ratio of
 is somewhat more complex. From (26) and (27) we           capital gain to retained earnings will vary directly
 can see that                                              with the payout ratio for growth corporations (and
                          +
     Gt ( t ) = k , X ( t ) k X ( t ) --
                                         P* -    P         vice versa for non-growth corporations). This means,
                                        p-kp*'             among other things, that i t is dangerous to attempt
                                                           to draw inferences about the relative growth poten-
 Hence, if p* = p the total capital gain received will     tial or relative managerial efficiency of corporations
 be exactly the same as the total retained earnings        solely on the basis of the ratio of capital gains to re-
 per share. For growth corporations, however, the          tained earnings (cf. Harkavy [12, esp. pp. 289-941).
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  tion formulas in Sections I1 and I11were                  fairly complex and space-consuming
  derived. For the terms in the bracket can                 task. Fortunately, however, this task
  no longer be regarded as given numbers,                   need not be undertaken in this paper
  but must be recognized as "random vari-                   which is concerned primarily with the ef-
  ables" from the point of view of the in-                  fects of dividend policy on market valua-
  vestor as of the start of period t. Nor is it             tion. For even without a full-fledged the-
  at all clear what meaning can be at-                      ory of what does determine market value
  tached to the discount factor 1/[1                 +      under uncertainty we can show that divi-
  p(t)] since what is being discounted is not               dend policy a t least is not one of the de-
  a given return, but a t best only a proba-                terminants. To establish this particular
  bility distribution of possible returns. We               generalization of the previous certainty
  can, of course, delude ourselvesinto think-               results we need only invoke a correspond-
  ing that we are preserving equation (3) by                ing generalization of the original postu-
  the simple and popular expedient of                       late of rational behavior to allow for the
  drawing a bar over each term and refer-                   fact that, under uncertainty, choices de-
  ring to it thereafter as the mathematical                 pend on expectations as well as tastes.
  expectation of the random variable. But                      "Imputed rationality" and "symmetric
  except for the trivial case of universal                  market rationality."--This generalization
  linear utility functions we know that                     can be formulated in two steps as follows.
  V(t) would also be affected, and mate-                    First, we shall say that an individual
  rially so, by the higher order moments of                 trader "imputes rationality to the mar-
  the distribution of returns. Hence there                  ket" or satisfies the postulate of "im-
  is no reason to believe that the discount                 puted rationality" if, in forming expecta-
  factor for expected values, 1/[1 p(t)],     +             tions, he assumes that every other trader
  would in fact be the same for any two                     in the market is (a) rational in the previ-
  firms chosen arbitrarily, not to mention                  ous sense of preferring more wealth to
  that the expected values themselves may                   less regardless of the form an increment
  well be different for different investors.                in wealth may take, and (b) imputes ra-
     All this is not to say, of course, that                tionality to all other traders. Second, we
  there are insuperable difficulties in the                 shall say that a market as a whole satis-
  way of developing a testable theory of                    fies the postulate of "symmetric market
  rational market valuation under uncer-                    rationality" if every trader both behaves
   taint^.^^ On the contrary, our investiga-                rationally and imputes rationality to the
  tions of the problem to date have con-                    market .24
  vinced us that it is indeed possible to con-                 Notice that this postulate of sym-
  struct such a theory-though the con-                          24 We offer the term "symmetric market rationali-

  struction, as can well be imagined, is a                  ty" with considerable diffidence and only after hav-
                                                            ing been assured by game theorists that there is no
      23 Nor does it mean that all the previous certainty   accepted term for this concept in the literature of
  analysis has no relevance whatever in the presence        that subject even though the postulate itself (or
  of uncertainty. There are many issues, such as those      close parallels to it) does appear frequently. In the
  discussed in Sec. I and 11, that really relate only to    literature of economics a closely related, but not ex-
  what has been called the pure "futurity" component        act counterpart is Muth's "hypothesis of rational
  in valuation. Here, the valuation formulas can still      expectations" [la]. Among the more euphonic,
  be extremely useful in maintaining the internal con-      though we feel somewhat less revealing, alterna-
  sistency of the reasoning and in suggesting (or criti-    tives that have been suggested to us are "puta-
  cizing) empirical tests of certain classes of hy-         tive rationality" (by T. J. Koopmans), "bi-ration-
  potheses about valuation, even though the formulas        ality" (by G. L. Thompson), "empathetic ra-
  themselves cannot be used to grind out precise nu-        tionality" (by Andrea Modigliani), and "pan-
  merical values for specific real-world shares.            rationality" (by A. Ando).
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 metric market rationality differs from                         The irrelevance of dividend policy de-
 the usual postulate of rational behavior                    spi& uncertainty.-In    Section I we were
 in several important respects. In the first                 able to show that, given a firm's invest-
 place, the new postulate covers not only                    ment policy, its dividend policy was ir-
 the choice behavior of individuals but                      relevant to its current market valuation.
 also their expectations of the choice be-                   We shall now show that this fundamental
 havior of others. Second, the postulate is                  conclusion need not be modified merely
 a statement about the market as a whole                     because of the presence of uncertainty
 and not just about individual behavior.                     about the future course of profits, invest-
 Finally, though by no means least, syrn-                    ment, or dividends (assuming again, as
 metric market rationality cannot be de-                     we have throughout, that investment
 duced from individual rational behavior                     policy can be regarded as separable from
 in the usual sense since that sense does                    dividend policy). To see that uncer-
 not imply imputing rationality to others.                   tainty about these elements changes
 I t may, in fact, imply a choice behavior                   nothing essential, consider a case in
 inconsistent with imputed rationality                       which current investors believe that the
 unless the individual actually believes                     future streams of total earnings and total
 the market to be symmetrically rational.                    investment whatever actual values they
 For if an ordinarily rational investor had                  may assume at different points in time
 good reason to believe that other inves-                    will be identical for two firms, 1 and 2.26
 tors would not behave rationally, then it                   Suppose further, provisionally, that the
 might well be rational for him to adopt a                   same is believed to be true of future total
 strategy he would otherwise have re-                        dividend payments from period one on so
 jected as irrational. Our postulate thus                    that the only way in which the two firms
 rules out, among other things, the possi-                   differ is possibly with respect to the
 bility of speculative "bubbles" wherein                     prospective dividend in the current pe-
 an individually rational investor buys a                    riod, period 0. In terms of previous nota-
 security he knows to be overpriced (i.e.,
                                                             tion we are thus assuming that
 too expensive in relation to its expected
 long-run return to be attractive as a per-                           X(t) = &(t)            t = 0 ...
 manent addition to his portfolio) in the                             f1(t)=f2(t) t = O ...a
 expectation that he can resell it at a still
 more inflated price before the bubble                                dl(t)= d,(t)           t = I . . . 03
 bursts.25
                                                             capital markets. Needless to say, whether our con-
      *We recognize, of course, that such speculative
                                                             fidence in the postulate is justified is something that
  bubbles have actually arisen in the past (and will
                                                             will have to be determined by empirical tests of its
  probably continue to do so in the future), so that our
                                                             implications (such as, of course, the irrelevance of
  postulate can certainly not be taken to be of univer-
                                                             dividend policy).
  sal applicability. We feel, however, that it is also not
  of universal inapplicability since from our observa-          26 The assumption of two identical firms is intro-
  tion, speculative bubbles, though well publicized          duced for convenience of exposition only, since it
  when they occur, do not seem to us to be a dominant,       usually is easier to see the implications of rationality
  or even a fundamental, feature of actual market be-        when there is an explicit arbitrage mechanism, in
  havior under uncertainty. That is, we would be pre-        this case, switches between the shares of the two
  pared to argue that, as a rule and on the average,         firms. The assumption, however, is not necessary
  markets do not behave in wayswhich do not obvious-         and we can, if we like, think of the two firms as really
  ly contradict the postulate so that the postulate may      corresponding to two states of the same firm for an
  still be useful, at least as a first approximation, for    investor performing a series of "mental experiments"
  the analysis of long-run tendencies in organized           on the subject of dividend policy.
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 the subscripts indicating the firms and       all periods and of equal Di(t) in period 2
 the tildes being added to the variables to    and beyond. Clearly, the only way dif-
 indicate that these are to be regarded        ferences in dividends in period 1 can ef-
 from the standpoint of current period,        fect Ri(0) and hence Vi(0) is via Vi(1).
 not as known numbers but as numbers           But, by the assumption of symmetric
 that will be drawn in the future from the     market rationality, current investors
 appropriate probability distributions.        know that as of the start of period 1 the
 We may now ask: "What will be the re-         then investors will value the two firms
 turn, R1(0) to the current shareholders in    rationally and we have already shown
 firm 1 during the current period?"            that differences in the current dividend
 Clearly, it will be                           do not affect current value. Thus we
                                               must have vl(1) = Vz(l)-and hence
                                                Vl(0) = V2(O)-regardless of any pos-
 But the relation between D1(0) and            sible difference in dividend payments
 %,(I) Pl(1) is necessarily still given by     during period 1. By an obvious extension
 equation (4) which is merely an account-      of the reasoning to Vi(2), Vi(3), and so
 ing identity so that we can write             on, it must follow that the current valua-
                                               tion is unaffected by differences in divi-
                                               dend payments in any future period and
 and, on substituting in (28), we obtain       thus that dividend policy is irrelevant for
                            +
     Ri(0) = Xi(0) - f l(0) Vi(1) (30)         the determination of market prices,
                                               given investment
 for firm 1. By an exactly parallel process       Dividend policy and leverage.-A study
 we can obtain an equivalent expression        of the above line of proof will show it to
 for R2(0).                                    be essentially analogous to the proof for
    Let us now compare R1(0) with R2(O).       the certainty world, in which as we know,
 Note first that, by assumption, X1(0) =       firms can have, in effect, only two alter-
 Xz(0) and fl(0) = fz(0). Furthermore,         native sources of investment funds: re-
 with symmetric market rationality, the        tained earnings or stock issues. In an
 terminal values Vi(l) can depend only on      uncertain world, however, there is the
 prospective future earnings, investment       additional financing possibility of debt
 and dividends from period 1 on and these      issues. The question naturally arises,
 too, by assumption, are identical for the     therefore, as to whether the conclusion
 two companies. Thus symmetric ration-         about irrelevance remains valid even in
 ality implies that every investor must        the presence of debt financing, particu-
 expect V1(l) = Vz(l) and hence finally        larly since there may very well be inter-
 &(0) = R2(0). But if the return to the
 investors is the same in the two cases,           27 We might note that the assumption of symmet-
                                               ric market rationality is sufficient to derive this con-
 rationality requires that the two firms       clusion but not strictly necessary if we are willing
 command the same current value so that        to weaken the irrelevance proposition to one running
 V1(0) must equal V2(0) regardless of any      in terms of long-run, average tendencies in the mar-
                                               ket. Individual rationality alone could conceivably
 difference in dividend payments during        bring about the latter, for over the long pull rational
 period 0. Suppose now that we allow           investors could enforce this result by buying and
 dividends to differ not just in period 0      holding "undervalued" securities because this would
                                               insure them higher long-run returns when eventually
 but in period 1 as well, but still retain     the prices became the same. They might, however,
 the assumption of equal .Xi(t) and fi(t) in   have a long, long wait.
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 actions between debt policy and dividend          policy under uncertainty, we might take
 policy. The answer is that it does, and           note briefly of a common confusion about
 while a complete demonstration would              the meaning of the irrelevance proposi-
 perhaps be too tedious and repetitious a t        tion occasioned by the fact that in the
 this point, we can a t least readily sketch       real world a change in the dividend rate
 out the main outlines of how the proof            is often followed by a change in the mar-
 proceeds. We begin, as above, by estab-           ket price (sometimes spectacularly so).
 lishing the conditions from period 1 on           Such a phenomenon would not be incom-
 that lead to a situation in which P1(l)           patible with irelevance to the extent that
 must be brought into equality with V2(l)          it was merely a reflection of what might
 where the V, following the approach in            be called the "informational content" of
 our earlier paper [17], is now to be inter-       dividends, an attribute of particular divi-
 preted as the total market value of the           dend payments hitherto excluded by as-
 firm, debt plus equity, not merely equity         sumption from the discussion and proofs.
 alone. The return to the original inves-          That is, where a firm has adopted a pol-
 tors taken as a whole-and remember                icy of dividend stabilization with a long-
 that any individual always has the option         established and generally appreciated
 of buying a proportional share of both            "target payout ratio," investors are
 the equity and the debt-must corre-               likely to (and have good reason to) inter-
 spondingly be broadened to allow for the          pret a change in the dividend rate as a
 interest on the debt. There will also be a        change in management's views of future
 corresponding broadening of the ac-               profit prospects for the firm.29The divi-
 counting identity (4) to allow, on the one        dend change, in other words, provides
 hand, for the interest return and, on the         the occasion for the price change though
 other, for any debt funds used to finance         not its cause, the price still being solely a
 the investment in whole or in part. The           reflection of future earnings and growth
 net result is that both the dividend com-         opportunities. I n any particular instance,
 ponent and the interest component of              of course, the investors might well be
 total earnings will cancel out making the         mistaken in placing this interpretation
 relevant (total) return, as before,               on the dividend change, since the man-
 [Xi(O) - f i(0)    +Vi(l)] which is clearly       agement might really only be changing
 independent of the current dividend. I t          ing its payout target or possibly even
 follows, then, that the value of the firm         attempting to "manipulate" the price.
 must also therefore be independent of             But this would involve no particular con-
 dividend policy given investment pol-             flict with the irrelevance proposition, un-
                                                   less, of course, the price changes in such
    The informational content of dividends. cases were not reversed when the unfold-
  -To conclude our discussion of dividend ing of events had made clear the true
    28 This same conclusion must also hold for the
                                                   nature of the situation.30
 current market value of all the shares (and hence
                                                           29 For evidence on the prevalence of dividend
 for the current price per share), which is equal to
 the total market value minus the given initially       stabilization and target ratios see Lintner [IS].
 outstanding debt. Needless to say, however, the            30 For a further discussion of the subject of the
 price per share and the value of the equity atfulure   informational content of dividends, including its im-
 points in time will not be independent of dividend     plications for empirical tests of the irrelevance prop-
 and debt policies in the interim.                      osition, see Modigliani and Miller [16,pp. 666-681.
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     v. DIVIDEND POLICY AND MARKET               ket. If, for example, the frequency dis-
                IMPERFECTIONS                    tribution of corporate payout ratios hap-
     T~ complete the analysis of dividend pened to correspond exactly with the dis-
  policy, the logical next step would pre- tribution of investor preferences for pay-
  sumably be to abandon the assumption Out ratios, then the existence of these
  of perfect capital             This is, how- preferences would clearly lead ultimately
  ever, a good deal easier to say than to do to a situation whose implications were
                because there is no unique set different in no fundamental respect from
  of circumstances that                   ((im- the perfect market case. Each corpora-
                 we can describe not one but tion would tend to attract to itself a
  a multitude of possible departures from ((clientele" consisting of those preferring
  strict perfection, singly and in combina- its particular payout ratio, but one clien-
  tions. Clearly, to attempt to pursue the tele               be             as good as another
 imp~icationsof each of these would only in terms of the valuation it would imply
  serve to add inordinately to an already for the firm. Nor, of course, is it necessary
 overlong discussion. we shall instead, for the distributions to match exactly for
 therefore,limit ourselves in this conclud- this result to occur. Even if there were a
 ing section to a few brief and general ob- ((shortage" of some particular payout
 servations about imperfect markets that ratio, investors would still normally have
 we hope may prove helpful to those tab- the option of achieving their particular
 ing up the task of extending the theory saving objectives without paying a Pre-
 of valuation in this direction.                mium for the stocks in short supply
     First, it is important to keep in mind                            appropriately weighted
 that from the standpoint of dividend pol-      combinations       of the   more plentiful pay-
 icy, what counts is not imperfection per       out   ratios. In  fact,  given   the great range
 se but only imperfection that might lead                        payout     ratios  known to be
 an investor to have a systematic prefer-                      this   process     would    fail to
 ence as between a dollar of current di+- eliminate permanent premiums and dis-
 dends and a dollar of current capital counts only if the distribution of investor
 gains. Where no such systematic prefer- preferences Were heavily concentrated a t
 ence is produced, we can subsume the either Of the extreme ends Of the payout
 imperfection in the (random) error term
 always carried along when applying prop-          Of a11 the many market imperfections
 ositims derived from ideal models to real- that might be detailed, the only one that
 world events.                                  would seem to be even remotely capable
     Second, even where we do find imper- of producing such a concentration is the
 fections that bias individual preferences substantial advantage accorded to capi-
 --such as .the existence of brokerage fees tal gains as compared with dividends un-
 which tend to make Young mula- la-                31 The above discussion should explain why,
 tors" prefer low-payout shares and re- among other reasons, i t would not be possible to
                                                draw any valid inference about the relative pre-
 tired persons lean toward                      ponderance of l'accumu~ators" as opposed to ((in-
 stocks"-such imperfections are a t best come" buyers or the strength of their preferences
 only necessary but not sufficient condi- merely from the weight attaching to dividends in a
 tio;s for certain   payout policies to         simple cross-sectional regression between value and
                                                payouts (as is attempted in Clendenin [2, p. 501 or
 mand a permanent premium in the mar- Durand [5, p. 6511).
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  der the personal income tax. Strong as                    measure or even to detect any premium
  this tax push toward capital gains may                    for low-payout shares on the basis of
  be for high-income individuals, however,                  standard statistical techniques.
  it should be remembered that a substan-                      Finally, we may note that since the
  tial (and growing) fraction of total shares               tax differential in favor of capital gains is
  outstanding is currently held by inves-                   undoubtedly the major systematic imper-
  tors for whom there is either no tax dif-                 fection in the market, one clearly cannot
 .ferential (charitable and educational in-                 invoke "imperfections" to account for
  stitutions, foundations, pension trusts,                  the difference between our irrelevance
  and low-income retired individuals) or                    proposition and the standard view as to
  where the tax advantage is, if anything,                  the role of dividend policy found in the
  in favor of dividends (casualty insurance                 literature of finance. For the standard
  companies and taxable corporations gen-                   view is not that low-payout companies
  erally). Hence, again, the "clientele ef-                 command a premium; but that, in gen-
  fect" will be at work. Furthermore, ex-                   eral, they will sell at a discount !33 If such
  cept for taxable individuals in the very                  indeed were the case-and we, at least,
  top brackets, the required difference in                  are not prepared to concede that this has
  before-tax yields to produce equal after-                 been established-then the analysis pre-
                                                            sented in this paper suggests there would
  tax yields is not particularly striking, at
                                                            be only one way to account for it; name-
  least for moderate variations in the com-                 ly, as the result of systematic irrational-
  position of returns.32All this is not to say,             ity on the part of the investing
  of course, that differences in yields (mar-                  To say that an observed positive pre-
  ket values) caused by differences in pay-                 mium on high payouts was due to irra-
  out policies should be ignored by man-                    tionality would not, of course, make the
 agements or investors merely because                       phenomenon any less real. But it would
  they may be relatively small. But it may                  a t least suggest the need for a certain
 help to keep investigators from being too                  measure of caution by long-range policy-
  surprised if it turns out to be hard to                   makers. For investors, however na'ive
    '3 For example, if a taxpayer is subject to a mar-
                                                            they may be when they enter the market,
 ginal rate of 40 per cent on dividends and half that       do sometimes learn from experience; and
 or 20 per cent on long-term capital gains, then a be-      perhaps, occasionally, even from reading
 fore-tax yield of 6 per cent consisting of 40 per cent     articles such as this.
 dividends and 60 per cent capital gains produces an
 after-tax yield of 4.32 per cent. To net the same after-         See, among many, many others, Gordon [8,9],
 tax yield on a stock with 60 per cent of the return in     Graham and Dodd [ l l , esp. chaps. xxxiv and xxxvi],
 dividends and only 40 per cent in capital gains would      Durand [4, 51, Hunt, Williams, and Donaldson [13,
 require a before-tax yield of 6.37 per cent. The differ-   pp. 647-491, Fisher [7], Gordon and Shapiro [lo],
 ence would be somewhat smaller if we allowed for           Harkavy [12], Clendenin [2], Johnson, Shapiro, and
 the resent dividend credit. though it should also be       O'Meara [14], and Walter [19].
 kepi in mind that the tax'on capital gains may be             s4 Or, less plausibly, that there is a systematic
 avoided entirely under present arrangements if the         tendency for external funds to be used more pro-
 gains are not realized during the holder's lifetime.       ductively than internal funds.

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